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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE
09 UNITED STATES OF AMERICA,              )
                                          )
10         Plaintiff,                     )
                                          )             Case No.: CR04-0261-JCC-JPD
11         v.                             )
                                          )
12   WALTER CLINTON MATTE,                )             DETENTION ORDER
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to distribute marijuana in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1),
17 841(b)(1)(B), and 846.

18 Date of Detention Hearing:      July 14, 2005
19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

23 is a danger to the community and a flight risk. No conditions would reasonably assure the

24 presence of defendant at the time of trial, and defendant has not overcome these presumptions.

25          (2)     The pretrial services report of July 14, 2005, reveals that defendant was born in

26 Windsor, Ontario, Canada, and has resided there for the past four years.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (3)    Defendant has minimal ties to British Columbia, and no ties to the Western
02 District of Washington.

03         (3)    Defendant is unemployed.
04         (4)    Defendant has had difficulties with anger issues since being diagnosed with
05 Attention Deficit Hyperactivity Disorder (ADHD) as a young boy, and has been exhibiting

06 abusive behavior.

07         IT IS THEREFORE ORDERED:
08         (1)    Defendant shall be detained pending trial and committed to the custody of the
09                Attorney General for confinement in a correction facility separate, to the extent
10                practicable, from persons awaiting or serving sentences or being held in custody
11                pending appeal;
12         (2)    Defendant shall be afforded reasonable opportunity for private consultation with
13                counsel;
14         (3)    On order of a court of the United States or on request of an attorney for the
15                government, the person in charge of the corrections facility in which defendant
16                is confined shall deliver the defendant to a United States Marshal for the purpose
17                of an appearance in connection with a court proceeding; and
18         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
19                counsel for the defendant, to the United States Marshal, and to the United States
20                Pretrial Services Officer.
21
                  DATED this 15th day of July, 2005.
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24
                                                        JAMES P. DONOHUE
25
                                                        United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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